     Case 1:11-cr-00352-LJO-SKO Document 76 Filed 01/22/15 Page 1 of 2
 1
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 5

 6   ATTORNEY FOR Defendant,
     MARK BAGDASARIAN
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                   ******
11   UNITED STATES OF AMERICA,                             Case No.: 1:11-CR-00352-LJO-SKO
12
                     Plaintiff,                            STIPULATION TO CONTINUE STATUS
13                                                         CONFERENCE AND ORDER
             v.
14                                                         Date: January 26, 2015
     MARK BAGDASARIAN AND RYAN                             Time: 8:30 a.m.
15   BAGDASARIAN,                                          Courtroom: 4
                                                           Hon. Lawrence J. O’Neill
16                   Defendants.
17

18           IT IS HEREBY STIPULATED by the parties hereto, through their respective

19   attorneys of record, that the Status Conference, presently set for January 26, 2015, at 8:30

20   a.m., be continued to April 27, 2015, at 8:30 a.m.

21           Counsel for Mark Bagdasarian and Ryan Bagdasarian and Assistant United States

22   Attorney Kevin Rooney are working on a resolution of this case, but need additional time, until

23   at least April 27, 2015, to resolve this case or set a trial date.

24           Based on the above-stated findings, the ends of justice served by continuing this status

25   conference as requested outweigh the interest of the public and the defendant in a trial within

26   the original date prescribed by the Speedy Trial Act.

27           For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

28   seq., within which trial must commence, the time period of January 26, 2015, through April
                                                        1
                                   STIPULATION TO CONTINUE STATUS CONFERENCE
                                        CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 76 Filed 01/22/15 Page 2 of 2
 1   27, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)

 2   because it results from a continuance granted by the Court at defendant’s request on the basis

 3   of the Court's finding that the ends of justice served by taking such action outweigh the best

 4   interest of the public and the defendant in a speedy trial.

 5            So Stipulated:

 6                                              Respectfully submitted,

 7   Dated:       January 22, 2015        By: /s/Kevin P. Rooney
                                              KEVIN P. ROONEY
 8                                            Assistant United States Attorney
 9

10

11   Dated:       January 22, 2015        By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
12                                            Attorney for MARK BAGDASARIAN

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14

15   Dated:       January 22, 2015        By: /s/Charles Lee
                                              CHARLES LEE
16                                            Attorney for RYAN BAGDASARIAN
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18

19                                                ORDER
20            IT IS SO ORDERED. Good cause having been shown, the Status Conference set for
21   January 26, 2015, is hereby continued to April 27, 2015, at 8:30 a.m. Additionally, time shall
22   be excluded by stipulation from the parties and pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv).
23   IT IS SO ORDERED.
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         Dated:     January 22, 2015                          /s/ Lawrence J. O’Neill
25                                                       UNITED STATES DISTRICT JUDGE

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                                 STIPULATION TO CONTINUE STATUS CONFERENCE
                                      CASE NO.: 1:11-CR-00352-LJO-SKO
